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 1   Madhuri Trivedi,
     ATTN: Women Who Code
 2   44 Tehama St, 5th Floor, San Francisco, CA 94105
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     Fax: 708-778-4859 Phone: (650) 242-5135                                             CT3
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 3   Email: orangeinc(£:protonmail.com                                        r>^4       ijj   ^o-i-i
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 5                                                                                       -fr   Z3
                        FOR THE DISTRICT OF MASSACHUS /ETS                                     o
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 6
      Madhuri Trivedi                                Case No.:
 7                                                   Judge:

 8                                                   COMPLAINT AND REQUEST FOR
                    Plaintiff,
                                                     INJUCTION
 9           v.
                                                     Whistleblower Retaliation under Dodd-
10                                                   Frank Act, 15 U.S.C. §78u-6(h);
                                                     SEC Rule 17 CFR § 240.21F-2
11
                                                     Securities Exchange Act of 1934,15
12    General Electric Company,
                                                     U.S.C. 78j(b),Rulc 17 C.F.R. 240.10b-5
      Address: General Electric Company
13
      41 Farnsworth Street
14                                                   Wrongful termination in violation of
      Boston, MA 02210,                              public policy
15
      GE Healthcare,
16                                                   Violations of whistleblower protections
      Address: General Electric Company
                                                     under Sarbanes-Oxley Act ,8 U.S.C. A§
17
      41 Farnsworth Street
                                                     1514A, etseq. ,Pub. L. 107-204
18    Boston, MA 02210,

19    Larry Culp, CEO of GE in his individual        8U.S.C.§ 1324b(a)(l),8U.S.C.§1324b
                                                     (a)(5)Prohibition Of Intimidation Or
20    and official capacity,                         Retaliation

      Address: General Electric Company              Disparate treatment, intentional
21
      41 Farnsworth Street                           discrimination and retaliation in
22
      Boston, MA 02210                               violation of Title VII
23
      GE board of directors,
24
                                                     45 CFR § 160.316 Refraining from
      Address: General Electric Company              intimidation or retaliation, Public Law
25                                                   104-191.
      41 Farnsworth Street

26    Boston, MA 02210,                              Violation of Dodd Frank act -
                                                     Section 1036-12 U.S. Code
27
                                                     § 5536(a)(1) and 12 U.S. Code
      Fragomen, Del Rey, Bernsen & Loevvy,
28                                                   § 5536(a)(3)
     Page-1-of 188 COMPLAIN"        Madhuri Trivedi v. General Electric et al.
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 1           336.    Despite doing such good work; manager Dave Mehring and leads shifted blame

 2    on to Ms.Trivedi( Ms. Trivedi's inclusiveness ) and retaliated. Leads were not held accountable
 3
      for their negligence. Madhuri was subjected to continuing abuse from her co-workers, manager
 4
      including verbal abuse, sexual comments, immigration retaliation, withdrawal of HI B,
 5
      vengeance to destroy her stellar career.
 6

 7           337.    Madhuri as under HIPPA, HITECH requirement did her job to address,

 8    bring to attention to people in authority and report such perceived misconduct, including
 9
      actual or potential violations of laws, regulations, policies, procedures. As a result of that
10
      she was threatened to be taken off the job, intimidated, harassed, and discriminate against,
11
      retaliatory action to punish her by giving poor performance evaluation (EXHIBIT 10)and
12

13    Finally discharged.

14


15
                                        FIFTH CAUSE OF ACTION

16
         FOR DISPARATE TREATMENT IN VIOLATION OF TITLE VII OF THE CIVIL
17
                               RIGHTS ACT INCLUDING RETALIATION
18

19
                            VIOLATIONS OF CIVIL RIGHTS ACT OF 1991 42 U.S.C. § 2000e-3a

20
             338.    Plaintiff realleges, reasserts, and incorporates by reference the facts and
21

22
      allegations stated in the previous paragraphs; as though fully set forth herein, as well as facts

23    currently unknown.

24           339.    42 USC § 2000c-2(a)(l) to discharge, any individual, or otherwise to discriminate
25
      against any individual with respect to his compensation, terms, conditions, or privileges of
26
      employment, because of such individual's race, color, religion, sex, or national origin; or
27

28
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